      Case 3:21-cv-08197-SMB Document 57 Filed 04/11/22 Page 1 of 4


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5
     Attorneys for Defendant
6 Catherine Coley
7 [Additional Counsel on Signature Page.]
8
9                        IN THE UNITED STATES DISTRICT COURT
10                             FOR THE DISTRICT OF ARIZONA
11
     Ryan Cox, individually and on behalf    )   Case No.: 21-cv-08197-PCT-SMB
12   of all others similarly situated;       )
                                             )   JOINT STIPULATION FOR
13                             Plaintiff,    )   SCHEDULING ORDER
                                             )
14                      v.                   )
                                             )
15   CoinMarketCap OpCo, LLC; Binance        )
     Capital Management Co., Ltd. d/b/a      )
16   Binance and Binance.com; BAM            )
     Trading Services Inc. d/b/a             )
17   Binance.US; Changpeng Zhao;             )
     Catherine Coley; Yi He; Ted Lin; and    )
18   Does I-X;                               )
                                             )
19                             Defendants.   )
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       Case 3:21-cv-08197-SMB Document 57 Filed 04/11/22 Page 2 of 4


 1           Plaintiff Ryan Cox (“Plaintiff”) and Defendant Catherine Coley (the “Defendant” and,
 2 together with Plaintiff, the “Parties”), by and through their undersigned counsel of record,
 3 respectfully submit this Joint Stipulation for Scheduling Order, as follows:
 4           WHEREAS, on September 13, 2021, Plaintiff filed a putative class action complaint (the
 5 “Complaint”) in the above-referenced action (the “Action”);
 6           WHEREAS, on March 24, 2022, Plaintiff completed service of the Complaint on
 7 Defendant; and
 8           WHEREAS, counsel for the Parties having conferred regarding a schedule for responding
 9 to the Complaint, the Parties agree that a coordinated briefing schedule for any motion(s) to dismiss
10 will best facilitate the just and efficient progress of the Action and use of this Court’s and the
11 Parties’ resources.
12           NOW, THEREFORE, the Parties hereby stipulate and agree, subject to the Court’s
13 approval as follows:
14           1.      The deadline for Defendant to respond to the Complaint shall be sixty (60 days)
15 after the date that service of the Complaint upon Defendant was perfected.
16           2.      Should Defendant move to dismiss the Complaint, Plaintiff shall file his opposition
17 to the motion to dismiss within sixty (60) days of the filing of the motion to dismiss; and Defendant
18 shall file a reply brief within thirty (30) days of the filing of Plaintiff’s opposition.
19           3.      Defendant does not waive any of her respective rights and defenses, including,
20 without limitation, any and all jurisdictional, venue, or forum-related rights and defenses, by
21 agreeing to and/or filing this Joint Stipulation for Scheduling Order.
22           IT IS SO STIPULATED.
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     Case 3:21-cv-08197-SMB Document 57 Filed 04/11/22 Page 3 of 4


1 Dated: April 11, 2022
                                              /s/ Ann-Elizabeth Ostrager
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7                                             Attorneys for Defendant
                                              Catherine Coley
8
9 Dated: April 11, 2022
                                              /s/ George Wentz, Jr.
10                                            George Wentz, Jr. (admitted pro hac
                                              vice)
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                                              Ryan Cox
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     Case 3:21-cv-08197-SMB Document 57 Filed 04/11/22 Page 4 of 4


1                               CERTIFICATE OF SERVICE
2                I hereby certify that on April 11, 2022, I electronically submitted the
3 foregoing document to the Clerk’s Office using the CM/ECF system for filing and
4 transmittal of a Notice of Electronic Filing to the CM/ECF registrants on record.
5
6 Dated: April 11, 2022
7
                                                      /s/ Ann-Elizabeth Ostrager
8                                                     Ann-Elizabeth Ostrager (admitted
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